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045723/19700/JAF/REN/TPD/MDG

                         U.S. DISTRICT COURT FOR THE
              SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

 SHARON FIELDS,

                        Plaintiff,
                                                       Case Number 3:19-cv-00941-RJD
 v.
                                                       Magistrate Judge Reona J. Daly.
 DOLLAR TREE STORES, INC.,

                        Defendants.

                     MOTION TO AMEND THE SCHEDULING ORDER

        COME NOW Plaintiff, Sharon Fields by and through her attorneys, Ott Kaw Firm, and

pursuant to Federal Rule of Civil Procedure 6(b), hereby submits for its Motion to Amend the

Scheduling Order, states as follows:

        1.     Plaintiff has filed a personal injury complaint (Doc. 1, Ex. 1) alleging that

Defendant was negligent, causing Plaintiff to slip and fall, resulting in injury.

        2.     This Court entered its Second Amended Scheduling Order (Doc.27 ) on June 18,

2020.

        3.     The Court entered an Order Granting Second Motion to Amend Correct scheduling

order on September 28, 2020.

        4.     The Court’s Order Granting Second Motion to Amend Correct Scheduling Order

set a deadline for discovery to be due by February 1, 2021 with dispositive motions complete by

February 15, 2021.

        5.     Counsel for both parties have completed depositions of Defendant Dollar Tree store

manager Shirley Wren on September 15, 2020 and Dr. Michael Halpin on November 11, 2020.

        6.     During the Deposition of Shirley Wren, Wren testified as to the existence of

multiple cameras that caught footage of the fall at issue.
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        7.     Defendant Dollar Tree Stores attempted to produce that video, but the video was

not usable on either Plaintiff nor Defendant’s counsel’s computer. The video has yet to be produced

in a usable format.

        8.     Defendant Shirley Wren further testified as to the existence of an incident report

that had not been prior produced by Defendant Dollar Tree Store before the deposition. She

produced a picture of the report during the deposition. She testified to the procedure used for

recording prior incidents and the existence of multiple spills in the aisle in which Plaintiff fell.

Defendant Dollar Tree store has not produced any prior incident reports from slip and falls at the

location at issue despite the same being requested.

        9.     Plaintiff has further served Defendant Dollar Tree Store with a Notice of Deposition

of Corporate Designee on August 11, 2020 and an Amended Notice of Corporate Designee on

March 11, 2021. The deadline given for the Amended Notice of Corporate Designee is May 19,

2021.

        10.    Further, Plaintiff Sharon Fields has continued to receive medical treatment as a

result of her injuries. Plaintiff has agreed to produce Ms. Fields for an additional deposition

regarding additional medical treatment only as well as sending Plaintiff’s Second Response to

Defendant’s Interrogatories indicating the additional medical treatment she has received since her

deposition.

        11.    The Court has scheduled a settlement conference in this case for Tuesday, March

30, at 10:00 AM. In the event that a settlement is not reached, Plaintiff Fields anticipates taking an

additional deposition of one of Plaintiff Fields treating doctors as well as the Deposition of

Corporate Designee on or before May 19, 2021. Plaintiff further will ask the Court to compel




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production of the video tape and prior incident reports for two years from Defendant Dollar Tree

Stores.

          12.    Therefore, Plaintiff requests that the Court amend its Second Amended Scheduling

and Discovery Order (Doc. 27), and Amended Scheduling Order (Doc. 35) as follows:



 Deadline                                         Current                Proposed
                                               Deadline/Date             Extension
 Close of Discovery                          February 1, 2021       October 1, 2020
 Deadline to file dispositive motions        February 16, 2021      October 15, 2020



          13.    This request will not prejudice the plaintiff and is not made to cause undue delay.

          14.    Defendant’s Attorney was contacted multiple times but has not responded to

requests to discuss this Motion to Amend Scheduling Order. There was some discussion about

producing the video but it has not yet been produced.



          WHEREFORE, for the above reasons, Defendant respectfully request this Honorable Court

grant its Motion to Amend the Scheduling Order, or such further relief deemed appropriate.



                                                       Respectfully submitted,

                                                       OTT LAW FIRM


                                                       ______________________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2021, I electronically filed the foregoing Motion to

Amend the Scheduling Order with the Clerk of the Court using the CM/ECF system. The

electronic case filing system sent a “Notice of E-Filing” to the following:

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                                                                              /s/ Joseph A. Ott




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